              Case 3:13-cr-04369-CAB                      Document 31               Filed 01/13/14              PageID.57               Page 1 of 2
        -.
     ~AO 245B (CASD) (Rev, 1112)    Judgment in a Criminal Case
                 Sheet 1
                                                                                                                          ;,-I!         FO
                                               UNITED STATES DISTRICT COUR1J4 JAN 13 AM S: 46
                                                   SOUTHERN DISTRICT OF CALIFORNIA ,~,                                            r :     tCT cau~

                      UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CA~E:'~:~
                                         v.                                        (For Offenses Committed Qn or After November 1, 19.,~'P,'!'-

                       GUSTAVO LUNA-PICHARDO                                       Case Number: 13CR4369-CAB
                                                                                    FRANK A. BALISTRIERI
                                                                                   Defendant's Attorney
     REGISTRATION NO. 45865298

     D
     THE DEFENDANT:
     181 pleaded guilty to count(s) ONE (1) OF THE TWO-COUNT INFORMATION
     D was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
             after a plea ofnot guilty.
             Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense( s):
                                                                                                                                             Count
     Title & Section                          Nature ofOtTense                                                                              Number(s)
8 USC 1324(a)(l)(A)(ii)               TRANSPORTATION OF ILLEGAL ALIENS AND AIDING AND ABETTING                                                  1




        The defendant is sentenced as provided in pages 2 through _---:2::...-_ of this judgment. The sentence is imposed pursuant
 to the Sentencing Refonn Act of 1984.
 D The defendant has been found not gUilty on count(s)
                                                       ------------------------------------....
 D Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is D are D dismissed on the motion ofthe United States.
 181 Assessment: $100.00 - Waived

  181 Fine waived                                   D Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defend t's economic circumstances.




                                                                              UNITED STATES DISTRICT JUDGE



                                                                                                                                               13CR4369-CAB
       Case 3:13-cr-04369-CAB                       Document 31      Filed 01/13/14         PageID.58          Page 2 of 2


AO 245B (CASD) (Rev. 1112) Judgment in a Criminal Case
           Sheet 2 - Imprisonment
                                                                                            Judgment - Page _ _2_ of          2
 DEFENDANT: GUSTAVO LUNA-PICHARDO
 CASE NUMBER: 13CR4369-CAB
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED (62 DAYS).



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.    on
               as notified by the United States MarshaL

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before ------------------.---------------------------------------------------------------­
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.
                                                             RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at ____________________ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                   By ______~~~~~~~~~~~------
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                   13CR4369-CAB
